Case 1:19-bk-04173-HWV   Doc Filed 03/20/20 Entered 03/20/20 11:18:13   Desc
                         Main Document   Page 1 of 7
Case 1:19-bk-04173-HWV   Doc Filed 03/20/20 Entered 03/20/20 11:18:13   Desc
                         Main Document   Page 2 of 7
Case 1:19-bk-04173-HWV   Doc Filed 03/20/20 Entered 03/20/20 11:18:13   Desc
                         Main Document   Page 3 of 7
Case 1:19-bk-04173-HWV   Doc Filed 03/20/20 Entered 03/20/20 11:18:13   Desc
                         Main Document   Page 4 of 7
Case 1:19-bk-04173-HWV   Doc Filed 03/20/20 Entered 03/20/20 11:18:13   Desc
                         Main Document   Page 5 of 7
Case 1:19-bk-04173-HWV   Doc Filed 03/20/20 Entered 03/20/20 11:18:13   Desc
                         Main Document   Page 6 of 7
Case 1:19-bk-04173-HWV   Doc Filed 03/20/20 Entered 03/20/20 11:18:13   Desc
                         Main Document   Page 7 of 7
